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AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 1



                                     UNITED STATES DISTRICT COURT
                                                         Western District of Arkansas
        UNITED STATES OF AMERICA                                       Judgment in a Criminal Case
                   v.                                                  (For Revocation of Probation or Supervised Release)


                                                                       Case No.         2:09CR20068-001
         DENNY EUGENE GOINES, JR.
                                                                       USM No.          06583-010

                                                                                                  Bruce D. Eddy
                                                                                                Defendant’s Attorney
THE DEFENDANT:
    admitted guilt to violation of condition(s)       2 and 3                   of the term of supervision.
    was found in violation of condition(s)                     1                after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number            Nature of Violation                                                                       Violation Ended
          1                 Mandatory Condition: New Law Violation                                                    January 10, 2023

          2                 Special Condition #7: Unauthorized Possession/Use of a Computer                           February 4, 2023

          3                 Special Condition #6: Access and Possession of Sexually Explicit Material                 February 4, 2023

       The defendant is sentenced as provided in pages 2 through           5    of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
    Upon motion of the Government, the Court dismissed condition(s)                 and the defendant is discharged as to such violation(s)
    condition.


         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.: 0151                                                July 5, 2023
                                                                                           Date of Imposition of Judgment
Defendant’s Year of Birth:         1965
                                                                                               /s/ P.K. Holmes, III
City and State of Defendant’s Residence:                                                         Signature of Judge
                  Fort Smith, Arkansas
                                                                         Honorable P.K. Holmes III, United States District Judge
                                                                                               Name and Title of Judge


                                                                                                   July 7, 2023
                                                                                                         Date
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                       Sheet 2— Imprisonment

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DEFENDANT:                DENNY EUGENE GOINES, JR.
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                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
       Twenty-four (24) months.



        The court makes the following recommendations to the Bureau of Prisons:




        The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:
             at                                       a.m.           p.m.       on                                    .
             as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             before 2 p.m. on                                               .
             as notified by the United States Marshal.
             as notified by the Probation or Pretrial Services Office.

                                                                     RETURN

I have executed this judgment as follows:




        Defendant delivered on                                                       to

at                                                 with a certified copy of this judgment.



                                                                                             UNITED STATES MARSHAL


                                                                            By
                                                                                          DEPUTY UNITED STATES MARSHAL
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                             Sheet 3 — Supervised Release

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DEFENDANT:                    DENNY EUGENE GOINES, JR.
CASE NUMBER:                  2:09CR20068-001

                                                              SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:         Life




                                                           MANDATORY CONDITIONS

1.     You must not commit another federal, state or local crime.
2.     You must not unlawfully possess a controlled substance.
3.     You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
       from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                    The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                    substance abuse. (check if applicable)
4.          You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.          You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
            as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
            where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.          You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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                       Sheet 3A — Supervised Release

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DEFENDANT:                  DENNY EUGENE GOINES, JR.
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                                         STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools
needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and
condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
      your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
      different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
      and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
      from the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
      officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
      from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
      officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
      or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation
      officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer
      within 72 hours of becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
      been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
      permission of the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
      that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
      nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
      without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact
      the person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and
Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                           Date
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                                           SPECIAL CONDITIONS OF SUPERVISION

 1. The defendant shall submit his person, residence, place of business or employment, vehicles, papers,
      computer, other electronic communication or data storage devices or media, and effects to a search
      conducted by the U.S. Probation Office based upon reasonable suspicion of criminal activity or violation
      of any condition of supervised release.

 2. The defendant shall have no unsupervised contact with minors.

 3. The defendant must participate in a sex offense-specific treatment program. The defendant must pay for
      the costs of the program if financially able.

 4. The defendant shall not possess, use, or have access to a computer or any other electronic device that has
      internet or photography capabilities without the prior written approval of the U.S. Probation Office. In the
      instance that the U.S. Probation Officer has authorized the defendant to use a computer, or other electronic
      device, all such devices shall be subject to search and seizure and the installation of search and/or
      monitoring software and/or hardware, including unannounced seizure for the purpose of search.

 5. The defendant shall not access, view, or possess any material that depicts or alludes to sexual activity,
      sexually arousing material, or sexually explicit conduct as defined by 18 U.S.C § 2256(2). Defendant shall
      not enter any location where such material pornography, erotica, or adult entertainment can be obtained or
      viewed.

 6. The defendant shall be required to submit to periodic polygraph testing at the discretion of the probation
      office as a means to ensure that he is in compliance with the requirements of his or her supervision or
      treatment program.

 7. The defendant shall submit to inpatient or outpatient mental health evaluation, counseling, testing, and/or
      treatment, as deemed necessary and directed by the U.S. Probation Office.
